Case 1:19-cv-01869-LPS Document 36 Filed 10/14/20 Page 1 of 2 PageID #: 1410




                             IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF DELAWARE

 BLIX INC.,                                          )
                                                     )
                     Plaintiff,                      )
                                                     )
       v.                                            ) C.A. No. 19-1869-LPS
                                                     )
 APPLE INC.,                                         )
                                                     )
                     Defendant.                      )


               PLAINTIFF BLIX INC.’S NOTICE OF SUBSEQUENT AUTHORITY

            Pursuant to District of Delaware Local Rule 7.1.2(b), Plaintiff Blix Inc. (“Blix”) hereby

provides notice of the United States District Court for the Northern District of California’s recent

decision in Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-05640-YGR (opinion attached as

Exhibit A), which supports denying Defendant Apple Inc.’s (“Apple”) Motion to Dismiss (D.I.

16).

            Epic Games mirrors this case in three key respects. First, in Epic Games, as here, the

plaintiff asserted monopolization claims against Apple for anticompetitive conduct related to the

iOS App Store. Second, the plaintiff argued (like Blix) that Apple was able to exclude it due to

monopoly power in an app aftermarket stemming from its unrivaled power in “the market for

distribution of apps on the iOS software platform.” Ex. A, at 15-16. Third, Apple argued there

(just as it does here) that the distribution market definition was too narrow, and that app

“distribution on other platforms” must also be part of the relevant market. Id. at 16.

            Given the stage of the proceedings, the District Court rejected Apple’s arguments on

market definition, finding that the plaintiff alleged a plausible relevant market and, more broadly,
Case 1:19-cv-01869-LPS Document 36 Filed 10/14/20 Page 2 of 2 PageID #: 1411




that the issue is too fact-bound to resolve at such an early stage. Id. at 19-20.1 This analysis—on

one of the exact same market definitions at issue in this case—strongly supports Blix’s similar

arguments regarding Apple’s power over iOS app distribution, the anticompetitive conduct that

power facilitates in app aftermarkets, and the factual nature of the inquiry.

                                                      /s/ John W. Shaw
                                                      John W. Shaw (No. 3362)
                                                      Karen E. Keller (No. 4489)
                                                      David M. Fry (No. 5486)
                                                      SHAW KELLER LLP
                                                      I.M. Pei Building
                                                      1105 North Market Street, 12th Floor
 OF COUNSEL:                                          Wilmington, DE 19801
 Steven C. Cherny                                     (302) 298-0700
 Stephen R. Neuwirth                                  jshaw@shawkeller.com
 Patrick D. Curran                                    kkeller@shawkeller.com
 QUINN EMANUEL URQUHART                               dfry@shawkeller.com
   & SULLIVAN, LLP                                    Attorneys for Plaintiff
 51 Madison Ave., 22nd Floor
 New York, New York 10010
 (212) 849-7000

 Adam Wolfson
 QUINN EMANUEL URQUHART
   & SULLIVAN, LLP
  865 S Figueroa Street
 Los Angeles, CA 90017
 (213) 443-3000

 Dated: October 14, 2020




       1
           The motion at issue in Epic was one for a preliminary injunction. Apple opposed by
arguing, inter alia, that Epic has no likelihood of success on its antitrust claims, due to supposedly
fatal problems in market definition (among other issues). The Court rejected that argument by
noting that, notwithstanding any plausible arguments Apple might have, Epic alleged a plausible
market, so the case needed to proceed to trial. Id.


                                                  2
